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6    Attorneys for Plaintiff Paul Garrison

7                                  UNITED STATES DISTRICT COURT
8              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
9

10   PAUL GARRISON,                                        Case No. 3:22-cv-01426-JSC
11                   Plaintiff,                            NOTICE OF SETTLEMENT AND
                                                           REQUEST TO VACATE ALL
12
             vs.                                           CURRENTLY SET DATES
13
     ALPHABET, INC., GOOGLE LLC,                           The Hon. Jacqueline Scott Corley
14   OUTTEN & GOLDEN LLP, WAYNE N.
     OUTTEN, ANNE GOLDEN, JUSTIN                           Amended Complaint Filed: March 14, 2022
15   SWARTZ, MELISSA WASHINGTON,
     BRIAN LEE JOHNSRUD, CURLEY,
16   HURTGEN & JOHNSRUD LLP, CIERRA
     GROSS and DOES 1-50, inclusive, ,
17
                     Defendants.
18

19

20          TO THIS HONORABLE COURT, AND ALL PARTIES AND THEIR ATTORNEYS
21   OF RECORD: PLEASE TAKE NOTICE that Plaintiff PAUL GARRISON has reached a
22   provisional settlement with all the Defendants (collectively, the “Parties”) in the above-captioned
23   case. The Parties would like to avoid any additional expense while they focus efforts on
24   finalizing the settlement, and request the Court to vacate all currently set dates with the
25   expectation that the settlement will be consummated within the coming sixty (60) days, allowing
26   for a Joint Stipulation for Dismissal with prejudice as to all parties to be filed.
27

28   Dated: June 17, 2022                    RESPECTFULLY SUBMITTED,


                      NOTICE OF SETTLEMENT AND REQUEST TO VACATE ALL CURRENTLY SET DATES - 1
     Case 3:22-cv-01426-JSC Document 14 Filed 06/17/22 Page 2 of 2




                                        LAW OFFICES OF BONNER & BONNER
1
                                        /s/Charles A. Bonner
2                                       Charles A. Bonner
                                        Attorney for Plaintiff
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          NOTICE OF SETTLEMENT AND REQUEST TO VACATE ALL CURRENTLY SET DATES - 2
